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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     )
                                             )
                                             )
v.                                           )      Case No. 21-cr-00398- BAH
                                             )
JAMES MCGREW                                 )
                                             )
                       Defendant             )
                                             )



 NOTICE OF WITHDRAWAL OF APPEARANCE OF JOHN M. PIERCE ON BEHALF
                  OF DEFENDANT JAMES MCGREW

       Pursuant to Local Civil Rule 83.6(b). the undersigned counsel hereby respectfully

withdraws his appearance for Defendant James McGrew in the above-caption matter. As of April

28, 2022 William L. Shipley has been retained and will be substituting as counsel of record for

Defendant James McGrew. Mr. Shipley has filed an Appearance of Counsel form in this case

and is a member of the D.DC. bar. As Mr. Shipley will remain as lead counsel, there will be no

delay in these proceedings.



Date: April 28, 2022                 Respectfully Submitted,



                                     John M. Pierce
                                     21550 Oxnard Street
                                     3d Floor, PMB#172
                                     Woodland Hills, CA 91367
                                     Tel: (213) 279-7846
                                     Email: jpierce@johnpiercelaw.com
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                                CERTIFICATE OF SERVICE

       I, John M. Pierce, hereby certify that on this day, April 28, 2022, I caused a copy of the

foregoing document to be served on all counsel through the Court’s CM/ECF case filing system.



                                     /s/ John M. Pierce
                                     John M. Pierce
